22 F.3d 1106NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Marcelino T. MACALIPAY, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 94-7032.
    United States Court of Appeals, Federal Circuit.
    March 25, 1994.
    
      Before MICHEL, Circuit Judge, BENNETT, Senior Circuit Judge, and LOURIE, Circuit Judge.
      ORDER
      MICHEL, Circuit Judge.
    
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(e) and to dismiss Marcelino T. Macalipay's appeal for lack of jurisdiction.  Macalipay has not filed a response.
    
    
      2
      On February 18, 1993, the Court of Veterans Appeals entered judgment dismissing Macalipay's appeal for lack of jurisdiction.  Macalipay filed a notice of appeal on December 6, 1993, 291 days after entry of judgment.  To be timely, Macalipay's appeal was due within 60 days.  38 U.S.C. Secs. 7291, 7292.  Failure to timely file a notice of appeal extinguishes the right to appeal.   Sofarelli Associates, Inc. v. United States, 716 F.2d 1395, 1396-97 (Fed.Cir.1983).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(e) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Each side shall bear its own costs.
    
    